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                            IN THE UNITED STATES BANKRUPTCY COURT

                                     FOR THE DISTRICT OF DELAWARE

In re:                                                     )         Chapter 11
                                                           )



W. R. GRACE & CO., et al.,’                                )        Case No. 01-1139 (JKF)
                                                           )        Jointly Administered
                              Debtors.
                                                                    Objection Deadline: October 19, 2010, at 4:00 p.m.
                                                                                 Hearing Date: TBD only if necessary

  NO ORDER REQUIRED CERTIFICATION OF NO OBJECTION REGARDING
MONTHLY FEE APPLICATION OF BAKER DONELSON BEARMAN CALD WELL &
BERKOWITZ, P.C. AS A PROFESSIONAL EMPLOYED BY THE ESTATE FOR THE
   DEBTORS FOR THE MONTH OF DECEMBER, 2009 (DOCKET NO. 25514)

                   The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading to the Monthly Fee Application of Baker

Donelson Bearman Caldwell & Berkowitz, P. C. ("Baker") as a Professional Employed by the

Estate for the Debtors for the Month of December, 2009 (the "Application"). The undersigned

further certifies that he has caused the Court’s docket in this case to be reviewed and no answer,

objection or other responsive pleading to the Application appears thereon. Pursuant to the

Application, objections to the Application were to be filed and served no later than

October 19, 2010.



   The Debtors consist of the following 62 entities: W. R. Grace & Co. (f/k/a Grace Specialty Chemicals, Inc.), W. R. Grace &
Co.-Conn., A-i Bit & Tool Co., Inc., Alewife Boston Ltd., Alewife Land Corporation, Amicon, Inc., CB Biomedical, Inc. (f/Ida
Circe Biomedical, Inc.), CCHP, Inc., Coalgrace, Inc., Coalgrace II, Inc., Creative Food ’N Fun Company, Darex Puerto Rico,
Inc., Del Taco Restaurants, Inc., Dewey and Almy, LLC (f/Ida Dewey and Almy Company), Ecarg, Inc., Five Alewife Boston
Ltd., G C Limited Partners I, Inc. (f/Ida Grace Cocoa Limited Partners I, Inc.), G C Management, Inc. (f/k/a Grace Cocoa
Management, Inc.), GEC Management Corporation, GN Holdings, Inc., GPC Thomasville Corp., Gloucester New Communities
Company, Inc., Grace A-B Inc., Grace A-B II Inc., Grace Chemical Company of Cuba, Grace Culinary Systems, Inc., Grace
Drilling Company, Grace Energy Corporation, Grace Environmental, Inc., Grace Europe, Inc., Grace H-G Inc., Grace H-G II
Inc., Grace Hotel Services Corporation, Grace International Holdings, Inc. (f/k/a Dearborn International Holdings, Inc.), Grace
Offshore Company, Grace PAR Corporation, Grace Petroleum Libya Incorporated, Grace Tarpon Investors, Inc., Grace Ventures
Corp., Grace Washington, Inc., W. R. Grace Capital Corporation, W. R. Grace Land Corporation, Gracoal, Inc., Gracoal II, Inc.,
Guanica-Caribe Land Development Corporation, Hanover Square Corporation, Homco International, Inc., Kootenai
Development Company, L B Realty, Inc., Litigation Management, Inc. (f/Ida GHSC Holding, Inc., Grace JVH, Inc., Asbestos
Management, Inc.), Monolith Enterprises, Incorporated, Monroe Street, Inc., MRA Holdings Corp. (f/Ida Nestor-BNA Holdings
Corporation), MRA Intermedco, Inc. (f/Ida Nestor-BNA, Inc.), MRA Staffing Systems, Inc. (f/k/a British Nursing Association,
Inc.), Remedium Group, Inc. (f/k/a Environmental Liability Management, Inc., E&C Liquidating Corp., Emerson & Cuming,
Inc.), Southern Oil, Resin & Fiberglass, Inc., Water Street Corporation, Axial Basin Ranch Company, CC Partners (f/Ida Cross
Country Staffing), Hayden-Gulch West Coal Company, H-G Coal Company.


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                  Pursuant to the Administrative Order Under 11 U.S.C. §§ 105(a) and 331

Establishing Procedures for Interim compensation and Reimbursement of Expenses for

Professionals and Official committee Members (the "Order") dated May 3, 2001, the Debtors

are authorized to pay Baker $16,000.00 which represents 80% of the fees ($20,000.00), and

$46.96, which represents 100% of the expenses requested in the Application for the period

December 1, 2009 through December 31, 2009, upon the filing of this certification and without

the need for entry of a court order approving the Application.



Dated: October 20, 2010                  KIRKLAND & ELLIS LLP
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                                          and

                                         PACHULSKJ STANG ZIEHL & JONES LLP


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                                         J4es)E. O’Neill (Bar No. 4042)
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                                          Co-Counsel to Debtors and Debtors-in-Possession




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